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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
________________________________________

UNITED STATES OF AMERICA,


-against-                                     04-CR-402


YASSIN MUHIDDIN AREF
and MOHAMMED MOSHARREF HOSSAIN,

                         Defendants.
_________________________________________

THOMAS J. McAVOY,
Senior United States District Judge



                            DECISION AND ORDER

     On March 10, 2006, the Government filed materials pursuant to

the Classified Information Procedures Act (“CIPA”) § 4 and Federal

Rule of Criminal Procedure 16(d)(1) in opposition to the

Defendants’ motion for reconsideration. See “Notice of Submission

of in Camera, ex Parte, Classified Memorandum and Response to

Defendants’ Motion for Reconsideration [Redacted]” [dkt. # 205].

The Government represented that the materials contained classified

information impacting the national security of this Country. See

CIPA § 1 (defining “classified information” as “any information or

material that has been determined by the United States Government

pursuant to an Executive order, statute, or regulation, to require

protection against unauthorized disclosure for reasons of national


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security); Exec. Order No. 12,958 § 1.3(a)(1)-(3), 60 Fed. Reg.

19,825, 19,826 (Apr. 17, 1995); 28 C.F.R. § 17.21; see also United

States v. Smith, 750 F.2d 1215, 1217 (4th Cir. 1984)(“[T]he

government ... may determine what information is classified. A

defendant cannot challenge this classification. A court cannot

question it.”), rev'd on other grounds on reh'g, 780 F.2d 1102 (4th

Cir. 1985)(en banc); United States v. Musa, 833 F. Supp. 752, 755

(E.D. Mo. 1993)(“The determination whether to designate information

as classified is a matter committed to the executive branch.”).

The Government also presented a proposed Order that contained

information deemed classified by the Government. The materials were

submitted ex parte and reviewed in camera, and the Court determined

to sign the proposed Order. The Order was designated a “classified

Order” because it contained information deemed classified by the

Government. In addition, the Court issued a public Order related to

the classified Order. See March 10, 2006 Order [dkt. # 206].

     With regard to the materials submitted on March 10, 2006,

including the proposed Order that the Court signed, the Court finds

that the Government’s interest in protecting the national security

and preventing the dissemination of classified information

outweighs the defendants’ and/or the public’s right of access to

these materials. See Globe Newspaper Co. v. Superior Ct., 457 U.S.

596, 606-07 (1982)(First Amendment right of access to court

proceedings and documents may be curtailed in favor of a compelling


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Governmental interest provided that the limitation on access is

"narrowly tailored to serve that interest."); Press-Enterprise Co.

v. Superior Ct., 464 U.S. 501, 510 (1984)("The presumption of

openness may be overcome only by an overriding interest based on

findings that closure is essential to preserve higher values and is

narrowly tailored to serve that interest."); Nixon v. Warner

Communications, Inc., 435 U.S. 589, 598 (1978)(common law right of

access may be outweighed by important competing interests); see

also Haig v. Agee, 453 U.S. 280, 307 (1981)("[N]o governmental

interest is more compelling than the security of the Nation.");

Snepp v. United States, 444 U.S. 507, 509, n. 3 (1980)(per

curiam)("The Government has a compelling interest in protecting

both the secrecy of information important to our national security

and the appearance of confidentiality so essential to the effective

operation of our foreign intelligence service."); United States v.

Moussaoui, 65 Fed. Appx. 881, 887, 2003 WL 21076836, at *3 (4th

Cir. May 13, 2003)(unpublished decision)(“[T]here can be no doubt

that the Government's interest in protecting the security of

classified information is a compelling one.”)(citing Dep't of Navy

v. Egan, 484 U.S. 518, 527 (1988)); United States v. Al-Arian, 267

F. Supp.2d 1258, 1266-67 (M.D. Fla. 2003)(“This Court cannot think

of a more compelling or substantial interest that the United States

possesses than protection of classified information.”). The Court

further finds that because the materials submitted on March 10,


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2006, including the proposed Order that the Court signed, were so

limited in scope and so interrelated with classified information,

the filing of redacted materials or a redacted Order that did not

divulge classified information would be impossible. No less

reasonable alternative to closure and sealing will protect the

Government’s interest in preventing the unauthorized dissemination

of this information, and this sealing order is drawn as narrowly as

possible under the circumstances.

     On March 16, 2006, the Government presented the Court with a

“Memorandum of Law in Response to the Court’s February 16, 2006

Order” related to the Government’s motion for a protective order

pursuant to the Classified Information Procedures Act (“CIPA”) § 4

and Federal Rule of Criminal Procedure 16(d)(1) dated August 4,

2005. See Status Report [dkt. # 212].        The Government also

presented the Court with two proposed Orders, one dealing with the

August 4, 2005 motion for a protective order, and the other

dealing with the Government’s Motion for a Protective Order

Pursuant to CIPA §§ 4, 6 and 8 and FED . R. CRIM . P. 16(d)(1) dated

January 13, 2006.    The Government represented that the “Memorandum

of Law in Response to the Court’s February 16, 2006 Order” and the

two proposed Orders contained classified information impacting the

national security of this Country. The materials were submitted ex

parte and reviewed in camera, and the Court determined to sign the

two proposed Orders. The two Orders were designated as “classified


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Orders” because they contained information deemed classified by

the Government.    In addition, the Court issued a public Order

related to the two classified Orders. See March 16, 2006 Order

[dkt. # 213].

     With regard to the materials submitted on March 16, 2006,

including the two proposed Orders that the Court signed, the Court

finds that the Government’s interest in protecting the national

security and preventing the dissemination of classified

information outweighs the defendants’ and/or the public’s right of

access to these materials. See Globe Newspaper Co., 457 U.S. at

606-07; Press-Enterprise Co., 464 U.S. at 510; Nixon, 435 U.S. at

598; Haig, 453 U.S. at 307; Snepp, 444 U.S. at 509, n. 3; United

States v. Moussaoui, 65 Fed. Appx. at 887, 2003 WL 21076836, at

*3; United States v. Al-Arian, 267 F. Supp.2d at 1266-67.               The

Court further finds that because the materials submitted on March

16, 2006, including the two proposed Orders that the Court signed,

were so limited in scope and so interrelated with classified

information, the filing of redacted materials or redacted Orders

that did not divulge classified information would be impossible.

No less reasonable alternative to closure and sealing will protect

the Government’s interest in preventing the unauthorized

dissemination of this information, and this sealing order is drawn

as narrowly as possible under the circumstances.

     Therefore, the above referenced materials are and shall


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remain sealed until further order of this Court, and are placed in

the custody of the Court Security Officer for appropriate storage.

IT IS SO ORDERED



DATED: March 28, 2006




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